 

Case 5:19-cv-00952-OLG Document 13 Filed 01/27/20 Page 1 of 1

Western District of Texas - San Antonio Division, Texas
655 E DURANGO BLVD, RM G-65 SAN ANTONIO TX 78206

CASE #: 5:19-CV-00952-OLG

MALIBU MEDIA, LLC

Plaintiff
vs
CHUKWUKA OBINABO

Defendant

AFFIDAVIT OF SERVICE

 

I, SHERAL JOHNSON, make statément to the fact;
That I am a competent person more than 18 years of age or older and not a party to
this action, nor interested in outcome of the suit. That I received the documents

stated below on 01/17/20 1:57 pm, instructing for same to be delivered upon Obinabo,
Chukwuka.

That I delivered to: Obinabo, Chukwuka.

the following : Summons in a Civil Action; Malibu Media. LLC Amended Complaint;
Exhibits A-B; Notice of Filing Rule 7.1 Disclosure Statement

at this address : 8100 Anderson Mill Rd Apt 4107
Austin, Williamson County, TX 78729-4747

Manner of Delivery : By PERSONALLY delivering the document(s) to the person above.

Delivered on : Wednesday JAN 22, 2020 5:44 pm

My name is SHERAL JOHNSON, my date of birth is MAR 4th, 1983, and my address is
Professional Civil Process Downtown, 2211 S. IH 35, Suite 105, Austin TX 78741, and

U.S.A. I declare under penalty of perjury that the feregoing is true and correct.
Executed in Travis County, State of Texas, on the 5 day of

 

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SHERAL JOHNSON “ 2411 Declarant
TX Certificatio : PSC-10700 Exp. 01/31/2020
Service Fee: 75.00 PCP Inv#: 220100198

Witness Fee: -00 SO Inv#: AXXXXXXXX

AX02A20103829 Mileage Fee: .00
tomcat Beik, Paul

eaffidavits@pcpusa:net RETURN TO CLIENT
